                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                    )    Chapter 11
                                                          )
Squirrels Research Labs LLC, et al.1                      )    Case No. 21-61491
                                                          )    (Jointly Administered)
                          Debtors.                        )
                                                          )    Judge Russ Kendig
_____________________________________                     )


          THE MIDWEST DATA COMPANY LLC’S NOTICE OF SUBSTANTIAL
                CONSUMMATION OF PLAN OF REORGANIZATION


         The Midwest Data Company LLC, proponent of the Plan of Reorganization dated February 21,

2022 (the “Plan”), hereby gives notice that the Plan confirmed by the Court on April 28, 2022 has been

substantially consummated. The Effective Date of the Plan was May 26, 2022.

Dated: July 25, 2022                                 Respectfully submitted,

                                                     /s/ Julie K. Zurn
                                                     Marc B. Merklin (0018195)
                                                     Julie K. Zurn (0066391)
                                                     BROUSE MCDOWELL, LPA
                                                     388 S. Main Street, Suite 500
                                                     Akron, Ohio 44311
                                                     Telephone: (330) 535-5711
                                                     Facsimile: (330) 253-8601
                                                     mmerklin@brouse.com
                                                     jzurn@brouse.com

                                                     Counsel for The Midwest Data Company LLC




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  The debtors in these Chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




21-61491-tnap        Doc 264       FILED 07/25/22             ENTERED 07/25/22 14:57:04               Page 1 of 1
